                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 20-cr-00305-DDD

UNITED STATES OF AMERICA,

       Plaintiff,

v.


MICHAEL AARON TEW,

       Defendant.

_____________________________________________________________________

                  NOTICE OF ATTORNEY APPEARANCE
_____________________________________________________________________

       Undersigned counsel hereby enters his appearance as counsel of record for

Defendant Michael Tew in this case. Counsel has been appointed to represent Mr. Tew

pursuant to the provisions of the Criminal Justice Act.



Respectfully Submitted,


s/Thomas R. Ward
Thomas R. Ward
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Dated: October 22, 2020
                                CERTIFICATE OF SERVICE

      I hereby certify that on Thursday, October 22, 2020, I electronically filed the

foregoing NOTICE OF ATTORNEY APPEARANCE with the Clerk of Court using the

CM/ECF system, which will automatically send notification of such filing to all opposing

counsel of record.



                                                s/Karla Alvarado
                                                Karla Alvarado




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